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                  EXHIBIT B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -   -   -   -   -    -   -   -   -   -   -   -   -       X

 UNITED STATES OF AMERICA                                     INDICTMENT

                      - v. -                                  20 Cr.

 INIGO AUGUST PHILBRICK,

                      Defendant..

 ---------------                                          X



                                                      COUNT ONE
                                                      (Wire Fraud)

         The Grand Jury charges:

                     1.       From in or about 2016 up to and including in or

about November 2019, in the Southern District of New York and.

elsewhere, INIGO AUGUST PHILBRICK, the defendant, willfully and

knowingly, having devised and intending to devise a scheme and

artifice to defraud, and for obtaining money and property by

means of false and fraudulent pretenses, representations, and

promises, transmitted and caused to be transmitted by means of

wire, radio, and television communication in interstate and

foreign commerce, writings, signs, signals, pictures, and sounds

for the purpose of executing such scheme and artifice, to wit,

for the purpose of financing PHILBRICK's art dealing business,

PHILBRICK, through interstate email communications and other

means, provided false i'nformat.ion and false documents and made
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material omissions regarding the sale, ownership and provenance

of artworks, and thereby obtained funds by means of interstate

and foreign wire transfer from collectors, investors, and

financial lenders.

       (Title 18, United States Code, Sections 1343 and 2.)

                                COUNT TWO
                      (Aggravated Identity Theft)

     The Grand Jury further charges:

           2.    From in or about 2016 up to and including in or

about 2019, in the Southern District of New York and elsewhere,

INIGO AUGUST PHILBRICK, the defendant, knowingly transferred,

possessed, and used, without lawful authority, a means of

identification of another person, during and in relation to a

felony violation enumerated in Title 18, United States Code,

Section 1028A(c), to wit, in connection with the wire fraud

offense alleged in Count One of this Indictment, PHILBRICK used

and aided and abetted the use of the name and signature of (i)

an officer of a Pennsylvania-based company to create a false and

fraudulent art sale contract and (ii) an employee of an auction

house to create a false and fraudulent consignment agreement.

       (Title 18, United States Code, Sections 1028A(a) (1),
                       1028A(c) (5), and 2.)

                         FORFEITURE ALLEGATION

           3.    As a result of committing the offense alleged in

Count One of this Indictment, INIGO AUGUST PHILBRICK, the

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defendant, shall forfeit to the United States, pursuant to Title

18, United States Code, Section 981(a) (1) (C) and Title 28,

United States Code, Section 2461(c), any and all property, real

and personal, that constitutes or is derived from proceeds

traceable to the commission of said offense, including but not

limited to a sum of money in United States currency representing

the amount of proceeds traceable to the commission of said

offense.

                      Substitute Asset Provision

           4.   If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

           a.   cannot be located upon the exercise of due
           diligence;

           b.   has been transferred or sold to, or deposited
           with, a third person;

           c.   has been placed beyond the jurisdiction of the

           Court;

           d.   has been substantially diminished in value; or

           e.   has been commingled with other property which

           cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section      853(p) and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property




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of the defendant up to the value of the above forfeitable

property.

     (Title 18, United States Code, Sections 981, 982, 1029;
         Title 21, United States Code, Section 853; and
           Title 28, United States Code, Section 2461.)




rEPERSON     =                          AUDREY ~RAUSS
                                        Acting United States Attorney




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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


                      UNITED STATES OF AMERICA

                                   v.

                       INIGO AUGUST PHILBRICK,

                                                Defendant.



                              INDICTMENT

                                 20 Cr.

                 (18 U.S.C. §§ 1028A, 1343, and 2.)

                          AUDREY STRAUSS
                   Acting United States Attorney



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